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12                                 UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION

15    UNITED STATES OF AMERICA,                           Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                   GOVERNMENT’S TRIAL MEMORANDUM

17
                            v.
18
      CARLOS E. KEPKE,
19
             Defendant.
20

21          The United States of America respectfully submits the following Trial Memorandum. Defendant
22 Carlos E. Kepke is charged with one count of conspiracy to defraud the United States under 18 U.S.C. §

23 371 (Count 1) and three counts of aiding and assisting in the preparation of materially false tax returns

24 under 26 U.S.C. § 7206(2) (Counts 2 – 4). Trial on all counts is scheduled to begin with jury selection

25 on November 28, 2022. A final pretrial conference is scheduled on November 21, 2022, at 1:30 p.m. See

26 ECF No. 91.

27

28


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                           lawful functions of the Internal Revenue Service by deceitful and dishonest
11                         means .................................................................................................................................11

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                           aware of its objectives........................................................................................................12
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 1                                    SUMMARY OF THE EVIDENCE

 2          The Government anticipates that the admissible evidence at trial will show the following:

 3          Beginning in 1999 and continuing through 2014, Defendant, an attorney, created and managed

 4 an offshore trust structure primarily designed for the purpose of tax evasion. Defendant created this

 5 structure for Robert Smith, one of his clients. The purpose of this structure was to allow Smith to evade

 6 federal income taxes on approximately $225,000,000 of capital gains income Smith earned from various

 7 private equity funds managed by Vista Equity Partners (“Vista”). Vista was founded by Smith in San

 8 Francisco and is now based in Austin, Texas. On October 9, 2020, Smith entered into a Non-Prosecution

 9 Agreement with the United States. See https://www.justice.gov/opa/press-

10 release/file/1327906/download. As part of that agreement, Smith admitted that Defendant (referred to as

11 Individual B in the Statement of Facts) created and maintained an offshore trust structure for the purpose

12 of hiding Smith’s assets, income, and tax liabilities from the IRS. See https://www.justice.gov/opa/press-

13 release/file/1327911/download. To further this conspiracy, Defendant created and maintained a false

14 paper trail to conceal the fact that Smith controlled and used the assets and income deposited into the

15 offshore trust structure (often with Defendant’s assistance). Smith retained Defendant to create this

16 structure at the behest of Robert Brockman, the primary investor in Vista. One of Smith’s goals in

17 creating the offshore trust structure was to use untaxed money to backstop his personal obligations to

18 Brockman. Although he was aware of the structure’s true purpose, Defendant designed it to create the

19 illusion that it was intended for estate planning and charitable purposes and managed by independent

20 foreign trustees. In practice, however, Defendant’s design allowed Smith to have uninhibited control

21 over the structure, its assets, and income. With Defendant’s assistance, Smith concealed his control over

22 the structure, and used its assets to purchase and renovate real estate in France; Sonoma, California; and

23 Colorado.

24          The offshore trust structure Defendant created for Smith (hereinafter, the “Excelsior/Flash

25 Structure”) consisted of two foreign entities created in 2000: Excelsior Trust (“Excelsior”) in Belize, and

26 Flash Holdings LLC (“Flash”) in Nevis. On paper, Excelsior was a charitable, non-grantor trust for the

27 benefit of Smith, his family members, and unnamed charities in the United States. According to the

28 Excelsior trust indenture, which was drafted by Defendant, Smith was Excelsior’s “Trust Protector”


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 1 which gave him the authority to remove the trustee at will. The only other official authority Smith had

 2 with respect to Excelsior was a testamentary power of appointment. The Excelsior trust indenture did

 3 not give Smith any authority over the management of Excelsior or its assets. Flash was a holding

 4 company with no employees, business situs, or independent business purpose. Flash did nothing more

 5 than hold investments for Smith. Flash was transferred to Excelsior shortly after its inception and

 6 became Excelsior’s wholly owned subsidiary. Excelsior held no assets other than Flash.

 7            At the outset, Defendant counseled Smith that the settlor of Excelsior should be someone

 8 unlikely to ever visit the United States—Smith chose Headley Waddington, the uncle of Smith’s then-

 9 wife, and a UK citizen.1 The named trustee of Excelsior was Cititrust International, Inc. (“Cititrust”), a

10 corporate services company in Belize managed by Glenn and Joy Godfrey. Defendant handpicked

11 Cititrust, having worked with the Godfreys previously. On paper, Excelsior was a charitable, non-

12 grantor trust for the benefit of Smith, his family members, and unnamed charities in the United States. In

13 2004, Emil Arguelles, an employee of Cititrust, left to form his own corporate services company, Orion

14 Corporate & Trust Services Ltd. (“Orion”). Like Cititrust, Orion served as a trust provider in Belize.

15 And like the Godfreys, Defendant had a close professional relationship with Arguelles and regularly

16 communicated with him regarding the operation of Excelsior. As Excelsior’s so-called “Trust

17 Protector,” Smith had the sole authority to remove the Trustee at his discretion. Eventually, based on

18 advice from Defendant, Smith directed the removal of Cititrust as trustee, and the appointment of Orion

19 as the new trustee of Excelsior.

20            The appointments of Waddington, Cititrust, and Orion were intended to give the impression that

21 Excelsior and Flash were controlled by a detached fiduciary. In reality, Smith made all substantive

22 decisions regarding the distribution and disbursement of the trust assets either directly or through

23 Defendant. Smith also unilaterally made all investment decisions regarding income distributed to Flash.

24 Smith made these decisions without oversight or approval from any of the so-called trustees. Smith used

25 bank accounts held by Flash as personal bank accounts, financing the purchase of various personal

26 expenses including investments, art, and luxury real estate.

27

28   1
         Mr. Waddington passed away in March 2020.

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 1            Flash was designated by Smith as general or limited partner in several of Vista’s private equity

 2 funds, including Vista Equity Fund II, LP (“VEF II”). As a named general partner, Flash held half of

 3 Smith’s eight-percent interest in VEF II. From 2000 to 2014, Smith designated Flash as a general or

 4 limited partner in nine additional Vista funds, which in turn made distributions of capital gains to Flash.2

 5 With Defendant’s assistance, Smith opened several foreign bank accounts in Flash’s name at Banque

 6 Bonhôte in Switzerland and VP Bank (BVI Limited) in the British Virgin Islands. Smith was the sole

 7 signatory on all but one of these accounts, and regularly directed the transfer and distribution of funds

 8 from these accounts for personal expenses. Smith directed more than $12 million from Flash accounts to

 9 purchase and improve his personal residence in Sonoma, California. The purchase agreement for that

10 transaction lists Smith and his then-wife as the buyers of the property. Some years later, he used these

11 funds to buy two luxury ski condos in Megève, France. He also used Flash accounts to finance the

12 purchase of high-priced art for himself or as gifts to others.

13            The Government plans to call Bruce G. Dubinsky, a forensic accounting, fraud, and tax

14 expert to explain the specifics of the Excelsior/Flash Structure to the Jury. After reviewing the

15 voluminous evidence in this case, Mr. Dubinsky formed four opinions: (1) that Smith, along with

16 Defendant, formed a network of offshore entities that engaged in transactions intended to conceal

17 the true ownership of those assets and help Smith evade taxes; (2) these transactions lacked

18 economic substance as defined by 26 U.S.C. § 7701(o) and should be disregarded for federal

19 income tax purposes; (3) that Excelsior trust was a grantor trust in all material respects; and (4)

20 that Smith’s income tax filings from 2010 to 2014 were false because they failed to report the

21 income distributed to Flash and concealed Smith’s control of the Excelsior/Flash Structure.

22            In addition to Smith and Dubinsky, the Government plans to call several other witnesses

23   involved with the Excelsior/Flash Structure, including current and former employees of Vista,

24 Orion, Cititrust, and Banque Bonhôte. The Government will also call Robert Mah, Brian Mah,

25 and Roger Humphreys, who all prepared various partnership income tax returns (Form 1065) for

26 Vista and its related funds as well as Smith’s personal income tax returns (Form 1040); these

27
     2
28    Private equity funds are usually term-limited partnerships. Since its formation, Vista Equity Partners
     has overseen several private equity funds.

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 1 three individuals are expected to testify that they were not aware of the Excelsior/Flash Structure

 2 when they prepared Smith’s income tax returns).

 3                                              APPLICABLE LAW

 4       I.    Economic Substance Doctrine

 5             A.     The Doctrine
               A transaction lacking “economic substance” is one in which a taxpayer has created the
 6
     appearance of an economic sale or exchange using a false paper trail, thereby attempting to shift the
 7
     incidence of taxation to an apparently independent entity. In reality, however, the income in question
 8
     remains under the dominion and control of the original taxpayer.3 It is settled law that the obligation to
 9
     pay federal income tax falls on the individual or entity that earns, or otherwise owns, the income in
10
     question, and that liability cannot be “escaped by anticipatory assignment” to another individual or
11
     entity. Lucas v. Earl, 281 U.S. 111, 115 (1930). For the last eight decades, courts have held that the
12
     “objective economic reality” of a transaction dictates proper tax treatment. Gregory v. Helvering, 293
13
     U.S. 465, 469 (1935) (taxation follows the substance of a transaction rather than its form); United States
14
     v. Boulware, 552 U.S. 421, 429 (2008) (“objective economic reality” controls taxation) quoting Frank
15
     Lyon Co. v. United States, 435 U.S. 561, 573 (1978).
16
               In 2010, the economic substance doctrine was codified at 26 U.S.C. § 7701(o).4 Section 7701(o)
17
     states:
18
               In the case of any transaction to which the economic substance doctrine is relevant, such
19             transaction shall be treated as having economic substance only if - -
20
                      (A)     The transaction changes in a meaningful way (apart from Federal tax
21                    effects) the taxpayer’s economic position, and

22                    (B)     The taxpayer has a substantial purpose (apart from Federal Income tax
                      effects) for entering into such a transaction.
23
               (emphasis added)
24

25

26

27   See Joseph Bankman, The Economic Substance Doctrine, 74 S.Cal L. Rev 5, 9 (2000).
     3


28
   4
     The Health Care and Education Reconciliation Act of 2010, § 1409, P.L. 111-152, 124 Stat. 1029
   (March 30, 2010).

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 1            Section 7701(o) codified the objective (Section 7701(o)(A)) and subjective (Section 7701(o)(B))

 2 prongs of the economic substance doctrine.5 Section 7701(o) did not alter the economic substance

 3 doctrine developed through prior court decisions.6 The economic substance of a series of transactions is

 4 determined by the totality of the facts and circumstances surrounding those transactions, rather than

 5 through analysis of each component part. See, e.g., Comm’r v. Court Holding Co., 324 U.S. 331, 332

 6 (1945) (analyzing the “whole” transaction at issue); see also True v. United States, 190 F.3d 1165, 1173-

 7 75 (10th Cir. 1999) (discussing the “step transaction” doctrine and treating separate “steps” as a single

 8 transaction). For income tax purposes, illusory transactions are ignored. See Court Holding Co., 324

 9 U.S. at 334. A false paper trail suggests an effort to present an illusory purpose and effect on the

10 taxpayer’s economic position.7 If a series of transactions lacks economic substance, they are to be

11 disregarded for income tax purposes, and the income in question becomes taxable to the taxpayer who in

12 reality owned and controlled that income. See Gregory, 293 U.S. at 469.

13            In criminal tax cases, the application of the economic substance doctrine does not alter the

14 Government’s obligation to prove the defendant acted willfully. See Cheek v. United States, 498 U.S.

15 192, 202 (1991). To meet its burden, the Government must present evidence of defendants’ actions. See

16 United States v. Barker, 556 F.3d 682, 688 (8th Cir. 2009); see also Staples v. United States, 511 U.S.

17 600, 616 n. 11 (1994); United States v. Pierre, 599 F.3d 19, 23 (1st Cir. 2010) (evidence of falsifying

18 records proves intent and negates feigning reliance on accountant); United States v. Santos, 553 U.S.

19 507, 521 (2008).8

20            Evidence of willfulness in criminal tax cases, where the economic substance is implicated, is

21 often derived from defendants’ use of shell corporations and trusts to create false paper trails designed to

22 fraudulently suggest that someone other than the taxpayer earned the taxable income in question, and to

23

24   5
      Charlene D. Luke, What Would Henry Simons Do?: Using an Ideal to Shape and Explain the
     Economic Substance Doctrine, 10 Houston Bus. & Tax L. J. 108 (2010).
25
     Title 26 U.S.C. § 7701(o)(5)(C) states: “The determination of whether the economic substance doctrine
     6

26 is relevant to a transaction shall be made in the same manner as if this subsection has never been
   enacted.”
27 7 Bankman supra note 3, at 26- 27.

28
     8
      Bankman supra note 3, at 28- 29 (corporate officers that cross the line and falsify implementing tax
     shelter documents knowingly risk criminal sanction).

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 1 make it appear as if that income is attributable to independent non-taxable (or foreign) entities. See

 2 United States v. Moran, 493 F.3d 1002, 1008-9 (9th Cir. 2007) (offshore corporations used to create

 3 fraudulent business deductions for taxpayers); see also United States v. Wade, 203 F. App’x 920 (10th

 4 Cir. 2006) (unpublished) (business trusts used to fraudulently conceal taxable income); United States v.

 5 Mikutowicz, 365 F.3d 65 (1st Cir. 2004) (domestic and foreign entities used to create false business

 6 deductions); United States v. Noske, 117 F.3d 1053, 1059-60 (8th Cir. 1997) (domestic business trusts

 7 used to fraudulently conceal taxpayers’ business income); United States v. Klaphake, 64 F.3d 435 (8th

 8 Cir. 1995) (domestic trust used to conceal taxpayer’s farm income). In these cases, the taxpayers did not

 9 report all of their income or claimed a false tax deduction, making the returns at issue materially false.

10 The determinative factor in each of these cases was the inconsistencies between the documents created

11 by the defendants, which created one image, and the economic reality of these taxpayers’ actions, which

12 revealed a reality contradictory to the image. The true economic reality of these transactions was

13 established using evidence of the defendants’ own conduct. These factual comparisons can be technical

14 and are greatly aided by the testimony of expert witnesses, like a forensic accountant or economist, who

15 can unravel these facts for a jury.

16          B.      Use of Expert Testimony to Discuss Economic Substance

17          Expert testimony in a criminal tax case regarding a particular series of transactions, or a how a
18 structure of entities was used, does not usurp the function of the jury and is consistent with application

19 of Daubert and Rule 702. See Moran, 493 F.3d at 1008; see also United States v. Pree, 408 F.3d 855,

20 870 (7th Cir. 2005); Mikutowicz, 365 F.3d at 72; United States v. Mohney, 949, F.2d 1397 (6th Cir.

21 1992). Such expert testimony constitutes a factual analysis which may assist the jury understanding a

22 complex series of financial transactions, and the Courts of Appeals have repeatedly held that expert

23 testimony in a criminal tax case concerning the “proper” tax treatment of a transactions allegedly

24 lacking “economic substance” is appropriate. See Moran, 493 F.3d at 1008-9; see also, e.g., Wade, 203

25 F. App’x at 929-931; United States v. Turner, 400 F.3d 491, 499 (7th Cir. 2005) (expert witness

26 testimony that certain transactions appeared “structured” was not error); Pree, 408 F.3d at 870 (IRS

27 agent may explain analysis of facts in case based on special expertise); Mikutowicz, 365 F.3d at 71

28


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 1 (testimony by IRS agent which offers an opinion on tax consequences of defendant’s transactions

 2 admissible).

 3           In Moran the Ninth Circuit held that it is entirely appropriate for a retired law school professor to

 4 provide expert testimony concerning the “economic substance” of a series of transactions designed and

 5 implemented by the defendants. See Moran, 493 F.3d at 1008-9. The Ninth Circuit also held that an

 6 expert witness may testify about the taxation of a transaction, but not about the mental state of the

 7 defendant, credibility of witnesses, or “legal conclusion[s], i.e., an opinion on an ultimate issue of law.”

 8 Id. at 1008. Expert testimony helps the jury unwind a complicated economic transaction and better

 9 consider whether it lacked economic substances. In Moran, the Government’s expert witness testified

10 that although certain entities were validly formed under Costa Rican law, the form of those entities was

11 not respected. In other words, certain purported loans and derivative transactions were illusory and

12 lacked economic reality. Id. at 1008-9.

13    II.    Grantor and Non-Grantor Trusts

14           The Internal Revenue Code distinguishes between grantor and non-grantor trusts for income tax

15 purposes. Under 26 U.S.C. § 674, the grantor—i.e., trustor, settlor, or creator—of a trust “shall be

16 treated as the owner of any portion of a trust of which the beneficial enjoyment of the corpus or the

17 income therefrom is subject to a power of disposition, exercisable by the grantor or a non-adverse part,

18 or both, without the approval or consent of any adverse party.” (emphasis added). In contrast, a trust

19 where the initial settlor or creator relinquishes all control of the trust assets is a non-grantor trust. The

20 initial settlor or creator of a non-grantor trust is not treated as the owner of the trust assets for tax

21 purposes. But any U.S. person who transfers assets to a foreign trust with U.S. beneficiaries is “treated

22 as the owner for his taxable year of the portion of such trust attributable to such property.” 26 U.S.C. §

23 679. Excelsior was a grantor trust. The evidence will establish that Smith was the actual creator of

24 Excelsior/Flash Structure; contributed all income producing assets to the Excelsior/Flash Structure (the

25 Vista partnership interests given to Flash); with Defendant’s assistance, unilaterally managed the

26 Excelsior/Flash Structure; and with Defendant’s assistance, unilaterally expended income from the

27 Excelsior/Flash Structure for his personal benefit. Yet Defendant counseled Smith to use a foreigner

28 with no apparent connection to the Excelsior/Flash Structure or its assets as the nominee settlor of


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 1 Excelsior, and he did so in order to create the false appearance that Excelsior was a non-grantor trust,

 2 and to conceal the fact that Excelsior was actually a grantor trust, and the Smith was the true settlor or

 3 creator.

 4                                               THE CHARGES

 5     I.   Count 1: 18 U.S.C. § 371 – Conspiracy to Defraud the United States

 6          The elements for Count 1 are:

 7                  1.     The existence of an agreement by two or more persons to commit an offense
                           against the United States or to defraud the United States;
 8
                    2.     Defendant’s knowing and voluntary participation in the conspiracy; and
 9
                    3.     The commission of an overt act in furtherance of the conspiracy
10
            A.      Defendant and Smith agreed to defraud the United States by obstructing the lawful
11                  functions of the Internal Revenue Service by deceitful and dishonest means
12          At Brockman’s direction, Smith retained the services of Defendant specifically to establish an
13 offshore structure for the purposes of receiving carried interest income from various private equity funds

14 formed by Vista. The deceptive nature of the Excelsior/Flash Structure was intended by Brockman,

15 Smith, and Defendant to mislead and obstruct the Internal Revenue Service. On paper, the

16 Excelsior/Flash Structure appeared to have been created for estate planning and charitable purposes, and

17 to be managed by foreigners exercising independent judgment. The economic reality, however, was very

18 different. With Defendant’s assistance, Smith created the Excelsior/Flash Structure as a repository for

19 his capital gain income, which he initially planned to use to fund potential personal obligations to

20 Brockman, his primary investor, and made all substantive decisions regarding the income and assets

21 placed in the Excelsior/Flash Structure.

22          Defendant caused Cititrust to form Excelsior in Belize. After the establishment of Excelsior and
23 Flash, Defendant regularly communicated with Cititrust regarding the day-to-day operation of Excelsior

24 and arranged payment of recurring fees to various service providers and corporate managers. Defendant

25 often communicated with Smith to keep him apprised of the administration of Excelsior and Flash.

26 Through Defendant, Smith directed the actions of Cititrust and other administrators. Glenn Godfrey, one

27 of the Cititrust managers working with Defendant, is expected to testify that they regularly took

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 1 instructions from Smith, through Defendant, regarding the substantive operation of Excelsior. When

 2 Orion took over as Trustee, those instructions were sent by Defendant to Emil Arguelles. Godfrey and

 3 Arguelles are expected to testify that they understood Smith to be the de facto owner of Excelsior assets,

 4 including Flash and its assets. Indeed, they never took substantive actions without Smith’s blessing,

 5 communicated through Defendant.

 6          B.      Defendant knowingly and voluntarily participated in the conspiracy and was aware
                    of its objectives
 7
            As an attorney, Defendant advertised himself as an expert in offshore structures used for the
 8
     purpose of tax avoidance. Brockman, Defendant’s client and Smith’s business partner, referred Smith to
 9
     Defendant. Smith is expected to testify that Defendant told him that he could form a foreign trust to hold
10
     a portion of Smith’s partnership interest in various Vista funds. Defendant would create a paper trail to
11
     falsely suggest that the trust was managed by an independent trustee. In reality, both Defendant and
12
     Smith knew that this was a mirage—Smith would maintain control of these assets without disclosing
13
     them to the IRS.
14
            For the 2012-2014 tax years, Smith filed false federal income tax returns that understated the
15
     amount of carried interest and capital gain income Smith received during those years. Communications
16
     between Defendant and third parties reflect Defendant’s understanding that Smith had ultimate control
17
     over the Excelsior/Flash Structure. On multiple occasions, Defendant directed third parties, including
18
     Cititrust and corporate managers of Flash in the British Virgin Islands, to avoid using Smith’s name on
19
     correspondence or other documents. In at least one instance, Defendant explicitly warned that doing so
20
     would cause adverse tax consequences to Smith. Defendant and Smith also worked to conceal the true
21
     value of various Flash accounts from its corporate managers and so-called fiduciaries because Smith was
22
     concerned that these individuals would take control of the funds that Smith understood to be his.
23
            Defendant’s modus operandi, knowledge, and intent are revealed by evidence collected by the
24
     IRS during an undercover operation targeting Defendant in 2017 and 2018. During the undercover
25
     operation, undercover agents posing as prospective clients seeking to protect their assets engaged with
26
     Defendant. The scheme Defendant tried to sell the undercover agents was nearly identical to the scheme
27
     he sold to Smith. Both involved: using a family member as a nominee to establish a sham trust using
28


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 1 funds surreptitiously provided by the client; installing a nominee, offshore trustee to create the false

 2 appearance that the trust was under independent control; creating an offshore holding company;

 3 installing a nominee, offshore manager to create the false appearance that the company was under

 4 independent control; assigning assets to the holding company; and then allowing the client to control

 5 those assets by filtering instructions to the offshore nominees through Defendant. Defendant introduced

 6 one of the undercover agents to Emil Arguelles, whose company, Orion, served as trustee of Excelsior

 7 for several years. Defendant’s advice to the undercover agents was obviously corrupt — as Defendant

 8 himself repeatedly advised the undercover agents — specifically designed to defeat taxation on assets

 9 held within the offshore structure.

10          Most significantly, Defendant explained to one undercover agent that there could be no

11 legitimate tax benefits if the undercover agent created and funded an offshore trust himself. This is a

12 clear manifestation of Defendant’s knowledge of the grantor trust rules described above. Despite his

13 knowledge of the law, however, Defendant advised the undercover agent to create and fund a trust using

14 a nominee so that the IRS would never know that the undercover agent was the true creator and funder.

15 This was not an effort to create a legitimate, non-grantor trust. Rather, it was an effort to create a grantor

16 trust disguised as a non-grantor trust.

17          Similarly, Defendant advised an undercover agent to employ an offshore trustee but made clear

18 that the trustee would be a nominee. He explained that the undercover agent would retain the ability to

19 control assets held in the trust because the trustee would always follow the undercover agent’s

20 instructions. This is a clear manifestation of Defendant’s knowledge of economic substance doctrine

21 described above. Despite this knowledge of the law, however, Defendant advised the undercover agent

22 to employ a nominee trustee. There is no legitimate reason for installing a nominee trustee. The only

23 purpose a nominee trustee serves is to create the false appearance that a trust is under independent

24 control, and that the act of assigning assets to the trust has some economic substance. When a taxpayer

25 assigns assets to a trust which the taxpayer actually controls, the transaction has no economic substance

26 and is ignored for purposes of federal income tax. Thus, Defendant’s advice was not designed to create a

27 genuine transaction which could have some legitimate tax consequences. Rather, it was an effort to

28 create a transaction which appeared to have economic substance but had none.


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 1          C.      Defendant and Smith committed overt acts in furtherance of the conspiracy

 2          The Government must prove that Defendant or Smith committed “any act to effect the object of
 3 the conspiracy.” 18 U.S.C. § 371. The Government is only required to show a single act in furtherance

 4 of the conspiracy. See United States v. Turchin, 21 F. 4th 1192, 1203 (9th Cir. 2022) (conviction under

 5 Section 371 requires only “an overt act in furtherance of the agreement” (emphasis added)).

 6 Nevertheless, the acts committed by Defendant and Smith were numerous, and the indictment lists many

 7 overt acts committed over approximately 15 years. See Indictment ¶¶ 29 – 50. Defendant spearheaded

 8 the establishment of the Excelsior/Flash Structure in Belize and Nevis. He drafted the Excelsior trust

 9 indenture, caused Excelsior to be created in Belize, and caused Flash to be created in Nevis. Defendant

10 worked with Smith to open bank accounts in the British Virgin Islands and Switzerland nominally held

11 by Flash, but ultimately controlled by Smith. Defendant helped Smith spend money held in Flash’s

12 name for his own personal benefit, including to purchase real estate in France, Sonoma, California, and

13 Colorado. For the years 2012 through 2013, Smith caused his personal income tax returns to be prepared

14 in San Francisco, and those returns were false because they did not accurately report carried interest and

15 capital gain income distributed by Vista to Flash. All of these acts are overt acts in furtherance of the

16 conspiracy.

17    II.   Counts 2 to 4: 26 U.S.C. § 7206(2) – Aiding in the Preparation of False Tax Returns
18          The elements for Counts 2 through 4 are:
19                  1.     Defendant aided or assisted in, procured, counseled, or advised the preparation or
                           presentation of a document in connection with a matter arising under the internal
20                         revenue laws;
21                  2.     the document was false as a to a material matters; and
22                  3.     Defendant acted willfully.
23          A.      Defendant aided, procured, counseled, and advised the preparation of Smith’s
                    income tax returns for the 2012-2014 tax years
24
            There is no requirement that Defendant participated in the actual preparation of the false tax
25
     returns in order to be convicted under Section 7206(2). See United States v. Smith, 424 F.3d 992, 1009
26
     (9th Cir. 2005) (“[T]he plain language of § 7206(2) is satisfied by aid, assistance, procurement, counsel,
27
     or advice in the preparation or presentation of a false or fraudulent return—there need not be actually
28


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 1 preparation of the return at issue.”). As described above, Defendant aided Smith in creating and

 2 maintaining an offshore trust structure designed to hide Smith’s income and assets from the IRS. Flash

 3 was listed as a general partner of various Vista funds, and from 2005 to 2014 over $225 million of

 4 carried interest and capital gain income was distributed by Vista to Flash. Since the independent

 5 character of the Excelsior/Flash Structure was an illusion, and the structure lacked economic substance,

 6 Smith was the de facto grantor of that Trust. As a result, Smith was taxable on income paid into the

 7 structure. Defendant devised this scheme knowing that the principal objective of setting up the structure

 8 was to allow Smith to evade his tax obligations. So, while Defendant may not have put pen to paper, he

 9 willingly participated in the scheme, and acted to fulfill its objectives.

10          The returns at issue were prepared by Robert Mah, Brian Mah, and Roger Humphries from Mah

11 & Associates, an accounting firm in San Francisco. All three are expected to testify that they were not

12 aware of the Excelsior/Flash Structure when they prepared Smith’s income tax returns, they were not

13 retained to audit or look behind any of the information provided to them by Smith and his

14 representatives, and that they presumed that information was complete and accurate.

15          Defendant aided and advised Smith in the preparation of his tax returns by acting as his

16 intermediary to various banks, trust companies, and corporate managers. Denise Davis, the then-Director

17 of Finance at Vista, is expected to testify that Vista employees were instructed to communicate with

18 Defendant regarding Flash rather than with Smith directly. Aside from setting up the Excelsior/Flash

19 Structure on Smith’s behalf, Defendant opened bank accounts for the various entities within the

20 structure and advised Smith how to purchase real property through nominees.

21          B.      Smith’s individual tax returns for tax years 2012-2014 were false as to a material
                    matter
22
            The Ninth Circuit has held that “any failure to report income is material.” United States v.
23
     Holland, 880 F.2d 1091, 1096 (9th Cir. 1989). Here, the Government’s forensic accounting and tax
24
     expert, Bruce G. Dubinsky, calculated that Smith’s federal income tax returns for 2012-2014 omitted
25
     approximately $195 million in taxable income received by the various Excelsior/Flash entities. The
26
     income should have been reported by Smith on his tax returns because Smith was the primary
27
     contributor of assets to the Excelsior/Flash Structure and maintained complete dominion and control
28


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 1 over the structure. Applying the economic substance doctrine, the Excelsior/Flash Structure is

 2 disregarded for income tax purpose, and the distributions to Flash are treated as distributions directly to

 3 Smith. Accordingly, under 26 U.S.C. § 674, Smith is treated as the owner of the income directed into the

 4 Excelsior/Flash Structure, requiring him to report it on his federal income tax returns. As a result,

 5 Smith’s income tax returns for the years 2012-2014 were false because they failed to report millions of

 6 dollars’ worth of income on Line 13, which is used, along with Schedule D, to report sales of capital

 7 assets such as stocks or bonds.

 8          C.      Defendant acted willfully

 9          Willfulness under Section 7206(2) requires “that the accused must know or believe that his
10 actions will likely lead to the filing of a false return.” United States v. Greer, 607 F.2d 1251, 1252 (9th

11 Cir. 1979). As discussed above, Smith used Defendant as a buffer between him and the Excelsior/Flash

12 Structure. For nearly 15 years, Defendant communicated Smith’s instructions to various bankers and

13 corporate managers. Defendant created a false paper trail to give the impression that Excelsior was

14 controlled by a neutral trustee and that Smith had relinquished control of any trust assets. This was a

15 complete ruse. Smith specifically retained Defendant to create a structure that would aid Smith evade

16 taxes he earned from various Vista funds. The Government expects to present evidence that Defendant

17 counseled others on how to create distance between Excelsior and Smith to maintain the appearance that

18 someone other than Smith was in control. Otherwise, Defendant would say, Smith would face tax

19 consequences.

20          The fact that Defendant understood that federal tax law imposes a duty on taxpayers to report
21 income generated by offshore trusts they create and fund, and also income they assign to offshore trust

22 they completely control, is well-illustrated by the undercover evidence. During the undercover

23 operation, Defendant was recorded explaining the law to prospective clients, and then advising that

24 those prospective clients violate the law by engaging in transactions with no legitimate purpose other

25 than obscuring reality and confusing the IRS.

26 / /

27 / /

28 / /


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 1                                         EVIDENTIARY ISSUES

 2     I.   Co-conspirator statements under Fed. R. Evid. 801(d)(2)(E)

 3          Evidence of a co-conspirator’s statements during and in furtherance of the conspiracy are not

 4 hearsay. See Fed. R. Evid. 801(d)(2)(E); see also Bourjaily v. United States, 483 U.S. 171, 175 (1987);

 5 United States v. Bowman, 215 F.3d 951, 960-61 (9th Cir. 2000). Such statements do not create a

 6 Crawford issue because they are non-testimonial. Crawford v. Washington, 541 U.S. 36, 55 (2004); see

 7 also Giles v. California, 554 U.S. 353, 375 n.6 (2008); United States v. Allen, 425 F.3d 1231, 1235 (9th

 8 Cir. 2005). On August 15, 2022, the Government notified Defendant of its intent to produce evidence of

 9 statements made by the following individuals pursuant to Rule 801(d)(2)(E):

10                 Robert Smith
11                 John Warnken-Brill
12                 Glenn Godfrey
13                 Joy Godfrey
14                 Emil Arguelles
15                 Evatt Tamine
16                 Robyn Neal
17                 Michele Frutiger
18          On November 7, 2022, the Government provided Defendant with notice that is also considers

19 Robert Brockman an unindicted co-conspirator and intends to introduce statements Brockman made to

20 Smith about Defendant and creating the Excelsior/Flash Structure. See ECF 121. Smith, a co-conspirator

21 named in the indictment, will be testifying at trial. The Government does not plan to call John Warken-

22 Brill (CFO of Vista) or Evatt Tamine as witnesses at trial. At the October 20 status hearing, the

23 Government stated that a James hearing is not necessary, and the Court appeared to agree. See ECF 110,

24 Transcript of 10/20/22 Status Conference at 66:1-67:23.

25    II.   Admission of undercover recordings and transcripts

26          On August 10, 2022, the Government filed a motion in limine to admit evidence consisting of

27 audio records and transcripts collected by the IRS undercover agents in this case. At the October 20

28 hearing, the Court reserved ruling on this motion and provided the Government with an opportunity to


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 1 narrow the body of this evidence and encouraged the Parties to stipulate to some of this evidence, where

 2 possible. See ECF 110, Transcript of 10/20/22 Status Conference at 25:9-27:5. While the parties were

 3 not able to stipulate to the admission of any portion of the undercover recordings and transcripts, the

 4 Government filed a supplemental motion in limine to admit a reduced set of this evidence. ECF 125.

 5 Defendant filed a response on November 14. ECF 147. That motion is pending.

 6   III.    Statements of Defendant under Fed. R. Evid. 801(d)(2)(A)

 7           To the extent that the Defendant objects on hearsay grounds to the admission of his statements,

 8 the Government intends to argue that such statements are non-hearsay under Fed. R. Evid. 801(d)(2)(A)

 9 and admissible. See ECF 123 (Government’s Motion in Limine); ECF 152 (Defendant’s response).

10   IV.     Outstanding Stipulations Sent to Defendant

11           The Government has proposed a total of five stipulations to Defendant. On November 15, the

12 parties conferred telephonically regrading these stipulations.

13           A.      Stipulation Regarding Redactions

14           On October 11th, the Government sent Defendant a stipulation proposing modifications to the
15 redaction procedures for trial exhibits set forth in Rule 49.1(a). The Government filed an agreed

16 stipulation on November 3rd, and it remains pending. See ECF 113.

17           B.      Stipulation regarding authenticity of tax returns
18           On October 19th, the Government sent Defendant a proposed stipulation regarding the
19 admissibility of tax returns the Government intends to introduce as exhibits at trial which were identified

20 by Bates number in the stipulation. Defendant has represented that he will stipulate to the admissibility

21 of the tax returns at issue in this case, and the parties anticipate filing a stipulation ahead of the final

22 pretrial conference.

23           C.      Domestic records of regularly conducted activity under Fed. R. Evid. 902(11) and
                     803(6)
24

25           On October 19th, the Government sent Defendant a proposed stipulation regarding the

26 admissibility of certain business records the Government intends to introduce as exhibits at trial under

27 Rules 803(6) and 902(11). These records were identified by Bates number in the stipulation. Discussions

28


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 1 regarding this stipulation are ongoing. If the parties can come to an agreement, the Government expects

 2 that a stipulation will be filed prior to the final pretrial conference.

 3           D.      Foreign records of regularly conducted activity under 18 U.S.C. § 3505 and Fed. R.
                     Evid. 902(12)
 4
             On November 8th, the Government sent Defendant notice of its intent to seek admission of
 5
     foreign records of regularly conducted activity under 18 U.S.C. § 3505 and Fed. R. Evid. 902(12). This
 6
     evidence consists of: (1) business records of Orion and Cititrust in Belize; (2) business records of
 7
     Banque Bonhôte in Switzerland; and (3) business records of First Caribbean International Bank in the
 8
     Cayman Islands. The Government also sent Defendant a proposed stipulation regarding the authenticity
 9
     of this evidence, identified by exhibit and Bates number, allowing Defendant to make other objections
10
     on relevance, hearsay, or other non-authenticity grounds. Discussions regarding this stipulation are
11
     ongoing. If the parties can come to an agreement, the Government expects that a stipulation will be filed
12
     prior to the final pretrial conference.
13
             E.      Stipulation regarding the authenticity of evidence obtained via search warrant
14
             On November 8th, the Government sent Defendant a proposed stipulation as to the authenticity
15
     of evidence obtained via search warrant. During its investigation, the Government obtained evidence via
16
     multiple search warrants executed at the homes of Defendant and Evatt Tamine, as well as electronic
17
     search warrants executed on Defendant’s email account. The Government has asked Defendant to
18
     stipulate to the authenticity of the evidence, identified by exhibit and Bates number, allowing Defendant
19
     to make other objections on relevance, hearsay, or other non-authenticity grounds. Discussions
20
     regarding this stipulation are ongoing. If the parties can come to an agreement, the Government expects
21
     that a stipulation will be filed prior to the final pretrial conference.
22
      V.     Summary evidence under Fed. R. Evid. 1006
23
             On November 3rd, the Government sent Defendant two Rule 1006 summaries of voluminous
24
     Vista financial records prepared by Denise Davis, identified as Exhibits 240 and 241 on the Exhibit List
25
     filed by the Government on November 9, 2022. See ECF 138 at 21. In addition, the Government
26
     previously gave notice of its intent to use Rule 1006 evidence, and why such evidence is appropriate.
27
     See Not. Of Intent to Offer Expert Testimony and Summaries of Voluminous Evid. at 9-11, ECF No. 45.
28


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 1 These exhibits summarize the flow of distributions from Vista and its various funds to its limited

 2 partners, including Flash. The underlying evidence was previously produced to the Defense, and the

 3 Government is prepared to produce them in court if requested by the Court.

 4

 5 Dated: November 15, 2022

 6                                                              STEPHANIE M. HINDS
                                                                United States Attorney
 7
                                                                /s Corey J. Smith
 8                                                              COREY J. SMITH
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12                                                              Attorneys for United States of America
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